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AO 245B (Rev. 09/08) Judgment in a Criminal Case

Sheet 1

UNITED STATES DISTRICT COURT

Southern District of New York

: ) emir ent a peng nmicn
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
v. )
Nooruddin Dashti Case Number: $112 Cr. 563 (WHP)
USM Number: 67305-054
) John Kaley, Esq.
Defendant’s Attorney

THE DEFENDANT:

if pleaded guilty to count(s) 1-2

[1] pleaded nolo contendere to count(s)

which, was accepted by the court.
(J was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
’ Title & Section Nature of Offense Offense Ended
- 48USC 1 029(b)(2). a : Conspiracy to Commit Access Device Fraud . 2/28/2012 a
~ 18 USC 1349 Conspiracy to Commit Bank Fraud 2/28/2012 2.

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

[J The defendant has been found not guilty on count(s)

i¥Count(s) all remaining CI is Mare dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
* the defendant must notify the court and United States attorney of material changes in economic circumstances. ,

8/23/2013
patontaysmimamotneeuraanctitons inna . Date of Imposition of Judgment
USDC SDNY
| DOCUMENT SO Nb & oath
ELECTRONICALLY FILED |
DOC #: _ '
DATE FILED: / Uo fr3 William H. Pauley III U.S.D.J
Naine of Judge Title of Judge
8/26/2013

Date
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AO 245B (Rev. 09/08) Judgment in Criminal Case
Sheet 2 —- Imprisonment

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DEFENDANT: Nooruddin Dashti
CASE NUMBER: $7 12 Cr. 563 (WHP)

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

24 months.

w The court makes the following recommendations to the Bureau of Prisons:

House in the New York Metropolitan area if practicable.

[] The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

[1 at Ll am. [1 pm. on

1 as notified by the United States Marshal.

w The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

WW before2p.m.on 10/24/2013

C] as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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DEFENDANT: Nooruddin Dashti Judgment—Page
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
3 years on each count with ail terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

[] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o Qe

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable.) .

["] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.
v v ye Upp

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons; *

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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Sheet 3C — Supervised Release

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DEFENDANT: Nooruddin Dashti
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SPECIAL CONDITIONS OF SUPERVISION

uested financial information.

The defendant shall not:incur new credit charges or open additional lines of credit without the approval of the probation
officer unless the defendant is in compliance with the installment payment schedule.

The defendant shall submit his person, residence, place of business, vehicle, or any other premises under his control to a
search on the basis that the probation officer has reasonable belief that contraband or evidence of a violation of the
conditions of the release may be found. The search must be conducted at a reasonabie time ana in reasonable manner.
Failure to submit to a search may be grounds for revocation. The defendant shall inform any other residents that the
premises may be subject to search pursuant to this condition.
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Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: Nooruddin Dashti
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CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment Fine Restitution
TOTALS $ 200.00 $ $ 200,000.00
L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 2450) will be entered

after such determination.

C1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

‘If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

bee

»

TOTALS $ 0.00 $ 0.00

[1 Restitution amount ordered pursuant to plea agreement $

i The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
L] the interest requirement is waived for the [] fine [] restitution.

[] the interest requirement forthe [ fine [1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

S.C. § 3664(i), all nonfederal victims must be paid
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Sheet 6 — Schedule of Payments

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DEFENDANT: Nooruddin Dashti
CASE NUMBER: S1 12 Cr. 563 (WHP)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A i Lump sum payment of $ _ 200.00 due immediately, balance due

[ not later than , or
[] in accordance Oc OF D, Of E,or {J Fbelov; or

B [ Payment to begin immediately (may be combined with []C, CID,or []F below); or

C 4 Payment inequal _ (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D ( Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F w Special instructions regarding the payment of criminal monetary penalties:

Restitution payments shail be made in monthly installments of 15% of Dashti's gross monthly income.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin:
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

C1 The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

yw The defendant shall forfeit the defendant’s interest in the following property to the United States:

As set forth in the order of forfeiture.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
